Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 1 of 25 PageID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

JUSTIN BARKER,

       Plaintiff,

       v.                                                Civil Action No.:

                                                         COMPLAINT AND
THE LOUISIANA SCHOOL FOR MATH,                           DEMAND FOR JURY TRIAL
SCIENCE, AND THE ARTS,

       Defendant




                                              COMPLAINT

       COMES NOW, Dr. Justin Barker, by and through counsel, Plaintiff in the above

captioned matter, and files her Complaint against Defendant The Louisiana School for Math,

Science, and the Arts ("LSMSA"), for Defendant’s violation of Plaintiff’s rights under Title IX of

the Education Amendments of 1972 ("Title IX"), 20 U.S.C. § 1681, et. seq., and violations of

Plaintiff's rights to equal protection under the laws of the Fourteenth Amendment to the U.S.

Constitution and federal rights under Title IX, pursuant to 42 U.S. § 1983. This employment

discrimination case is brought pursuant to Title VII of the Civil Rights Act of 1964, as amended,

42 U.S.C. §§2000(e) et seq. (“Title VII”). Plaintiff alleges that Defendants engaged in the practice

of employment discrimination based on gender and sexual orientation, created an abusive and

hostile workplace environment, and retaliated against Plaintiff by wrongfully terminating her as

alleged in this Complaint. Plaintiff seeks declaratory, injunctive, and equitable monetary relief

from these practices; compensatory and punitive damages; equitable remedies of accounting and

restitution; and an award of costs, expenses, and attorney’s fees.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 2 of 25 PageID #: 2




                              PARTIES, JURISDICTION, AND VENUE

      1.      Plaintiff re-alleges and incorporates the allegations contained in all prior

   paragraphs of this Complaint as if fully alleged herein.

      2.      Plaintiff Justin Barker is a former resident of Natchitoches Parish, Louisiana and

   currently resides in Nashville, Tennessee, which is in Davidson County.

      3.      Defendant LSMSA is a recipient of federal funds within the meaning of 20 U.S.C.

   § 1681, et seq. LSMSA geographically lies within Natchitoches Parish, Louisiana.

      4.      All events and omissions giving rise to this Complaint occurred in Natchitoches,

   Louisiana, which is in Natchitoches Parish.

      5.      Jurisdiction and venue are proper in this Court pursuant to 28 U.S.C. § 1391

   because Defendant is located within the Judicial District and the events and omissions giving

   rise to the Complaint occurred in this District.

      6.      Plaintiff was an “employee” of Defendant LSMSA and an “aggrieved person”

   within the meaning of 42 U.S.C. §2000e(f) from on or about August 2017 until she was

   terminated on or about June 2020.

      7.      This Court has jurisdiction over this case pursuant to 28 U.S.C. §1331, 28 U.S.C.

   §1343, 28 U.S.C. §1367, and 42 U.S.C. §2000e(5)(f)(3).

      8.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

   1331 because this litigation involves federal law, specifically claims made under Title IX, 20

   U.S.C. § 1681 et. seq., and claims for deprivation of civil rights under the U.S Constitution,

   pursuant to 42 U.S.C. § 1983.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 3 of 25 PageID #: 3




       9.      This Court also has subject matter jurisdiction over this matter pursuant to 28

   U.S.C. § 1343(a)(3) and (4) because Plaintiff seeks redress and damages for deprivation of

   civil and federal rights under 42 U.S. § 1983.

       10.     This Court has personal jurisdiction over Defendant pursuant to Federal Rules of

   Civil Procedure 4(k)(1) because Defendant is located and regularly conducts business in this

   jurisdiction and because the conduct giving rise to this cause of action occurred in this Judicial

   District.

       11.     At all times material hereto, all Defendants were operating and licensed to do

   business in the State of Louisiana. Defendants are and have been covered “employers” within

   the meaning of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e(b) at all times

   relevant to this Complaint.

       12.     Defendant(s) is a “person” within the meaning of 42 U.S.C. § 2000e(a).

       13.     Service may be had upon LSMSA through Dr. Steve Horton, Executive Director

   of LSMSA, at 715 University Parkway, Natchitoches, LA 71457 and Sharon T. Gahagan,

   Chair of the LSMSA Board of Directors.

       14.     Plaintiff Justin Barker brings this civil rights action based on repeated and

   pervasive incidents of harassment and retaliation by Defendant LSMSA and its employees.

       15.     The harassment and retaliation from Defendant LSMSA was based on Plaintiff’s

   gender and sexual orientation.

       16.     Plaintiff repeatedly reported the harassment and discrimination to multiple persons

   in LSMSA leadership and Human Resources.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 4 of 25 PageID #: 4




       17.        The school officials, had little, if any, training or experience with respect to

   properly receiving, investigating, or responding to reports of employee harassment or

   retaliation.

       18.        Dr. Barker was sexually harassed, discriminated against, and retaliated against

   over a period of two years.

       19.        Plaintiff seeks recovery for the significant damages she has suffered as a result of

   Defendant’s violation of Plaintiff’s civil and constitutional rights.

       20.        Plaintiff timely filed a charge within 180 days with the Equal Employment

   Opportunity Commission regarding the Defendant’s discriminatory conduct.

       21.        The Equal Employment Opportunity Commission issued a Notice of Right to Sue

   letter, which was received on or about September 27, 2021.

       22.        This complaint is being timely filed within 90 days of Plaintiff’s receipt of the

   EEOC’s Notice of Right to Sue.

                                         FACTUAL ALLEGATIONS

       1.         Plaintiff re-alleges and incorporates the allegations contained in all prior

   paragraphs of this Complaint as if fully alleged herein.

       2.         Dr. Barker began her employment with Defendant in August 2017 as an Instructor

   of English.

       3.         As a faculty member, Plaintiff worked within the Academic Services Division.

       4.         Plaintiff’s supervisor was Kristi Pope Key, Director of Academic Services.

       5.         Key was responsible for evaluating Plaintiff, signing off on her time sheets, and

   determining whether she would receive a letter of intent (contract renewal) at the end of each

   school year.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 5 of 25 PageID #: 5




   LOVE-BOMBING AND HARASSMENT

      6.      In early September 2017, October 2017, and again in December 2017, Key began

   engaging Plaintiff outside of work via Facebook messenger to Plaintiff’s personal Facebook

   account.

      7.      These messages and correspondence became more frequent via Facebook

   messenger after December 2017.

      8.      Key also began texting Plaintiff more frequently via iMessage on or about that

   same time. Further, Key began inviting Plaintiff to spend the night at her house. The initial

   offer was due to Plaintiff having issues with her own neighbor. However, even once that issue

   was resolved, Key continued to invite Plaintiff for sleepovers.

      9.      On February 5, 2018, Key began messaging Plaintiff via Google Chat and turned

   off the history settings so that any and all messages would disappear after 24 hours.

      10.     In February 2018, Plaintiff and Key met for coffee and talked about work stuff.

   Key turned the conversation more personal and told Plaintiff about how, before she met her

   husband, Key’s brother and sister-in-law used to ask her if she was a lesbian.

      11.     Between February 2018 and September 2018, Key specifically cooked and

   prepared food for Plaintiff and would bring it to her at work.

      12.     In March 2018, during a Google Chat conversation, Key told Plaintiff “I hope you

   never leave. I want you to stay here for four forevers.” During another conversation, Key also

   said “I’m glad you’re in this world.”

      13.     During another March 2018 incident, while at Key’s house due to an invitation for

   Plaintiff to join Key’s family for the day before Easter, Key reached over and laid her hand on

   Plaintiff’s wrist and left her hand there to linger for an uncomfortably long amount of time.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 6 of 25 PageID #: 6




      14.     Throughout timeframe of this Complaint, Key would suggest that she and Plaintiff

   take trips together, give Plaintiff gifts (including a magnet with a uterus on it), send messages

   saying, “Thinking of you,” invite Plaintiff to work in her office, discuss personal feelings with

   Plaintiff, engage in long uncomfortable hugs with Plaintiff, and squeeze-rub Plaintiff’s upper

   arms anytime Key said goodbye after an encounter or if Plaintiff and Key saw one another in

   the hallway at Defendant’s campus.

      15.     On March 29, 2018 (over spring break), Key invited Plaintiff to join Key’s family

   at Toledo Bend at a lake cabin.

      16.     On the morning of April 5, 2018, Key saw Plaintiff walking across the NSU

   Library parking lot from Starbucks. Key pulled in and asked Plaintiff to get in her car to give

   her a ride. Once they arrived at Defendant LSMSA’s parking lot, they sat in the car making

   small talk. When other faculty/staff started to arrive, Key commented “well, this will give

   them something to talk about.”

      17.     When discussing whether to see the movie Black Panther, Plaintiff suggested

   inviting another colleague and his partner, to which Key replied in all caps, “POTENTIAL

   DOUBLE DATE!”

      18.     In July 2018, while returning from an off-campus lunch, Key began talking to

   Plaintiff about how Key’s father was a philanderer who “got blow jobs from every woman in

   town.”

      19.     In April 2019, when Plaintiff’s own therapist was unavailable, Plaintiff spoke with

   a Personal Counselor at LSMSA, Kim Cain, to understand Key’s behavior. During this

   session, Cain asked, “Were you and Kristi in a relationship?” and when Plaintiff responded
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 7 of 25 PageID #: 7




   “Um … not to my knowledge” and explained that Key was Plaintiff’s supervisor and mentor,

   Cain asked more concisely “…were you and Kristi in an actual relationship?”

       20.      In October 2019, after not speaking with Plaintiff for a period of time, Key saw

   Plaintiff at the water fountain and said, “hey boo.”

       21.      Plaintiff would often catch Key staring at her during events, activities, and

   meetings. A few other colleagues (particularly Karen Stirrett and Jennifer Mangum) noticed,

   as well, and asked Plaintiff about it.

DEVALUATION AND CREATION OF TOXIC WORK ENVIRONMENT

       22.      In June 2018, Key stopped speaking to Plaintiff in any capacity. Key was

   Plaintiff’s supervisor, and both were scheduled to co-teach two classes during STEM, a

   weeklong summer program which Key specifically asked Plaintiff to co-teach rather than

   another STEM professor or coordinator . There was no explanation for this sudden change in

   behavior until later when Key told Plaintiff that Key needed to “recalibrate” when it came to

   Plaintiff.

       23.      On September 28, 2018, Dr. Barker had become increasingly more uncomfortable

   and worried about how Key’s behaviors and interactions would affect her job, so Plaintiff sent

   a text message to Key asking about personal boundaries. Key’s only reply was “I have

   decided to deliberately try not to dish with you about colleagues.”

       24.      On multiple occasions, Key was actively hostile toward Plaintiff, often in front of

   Plaintiff’s colleagues and students. Additionally, by Fall 2019, Key became increasingly

   hostile to Plaintiff’s close colleagues and friends, particularly Karen Stirrett, a new biology

   instructor. Stirrett resigned from the school after only that first year of teaching due to Key’s

   behavior, stating in her resignation email that Key was the reason for her departure.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 8 of 25 PageID #: 8




       25.     On September 18, 2018, during a group conversation among colleagues at a

   reception for Governor Edwards, Key would not speak to Plaintiff or even look at her.

   However, later that night, Key began messaging Plaintiff on Instagram asking Plaintiff if she

   received the cat gift she had left in Plaintiff’s mailbox.

       26.     Also in September 2018, Key told Plaintiff that in May 2018, Key had to do an

   “emotional dump” and “recalibrate her feelings” regarding Plaintiff.

       27.     In November 2019, at a conference in Seattle which was attended by Key,

   Plaintiff, and other members of LSMSA faculty, Key refused to stand with the LSMSA

   representatives during group events because Plaintiff was present.

       28.     Often, Key displayed obsessive behavior when she would message Plaintiff on

   more than one medium until Plaintiff responded, or track Plaintiff down in her office under

   the false pretense that she had work-related information to share.

   REPORTING AND RETALIATION

       29.     Beginning in Spring 2018, Plaintiff sought the advice on multiple occasions of

   John Allen, Defendant LSMSA’s Chief of Staff, regarding Key’s increasing hostility and

   erratic behavior, especially in front of students and other colleagues.

       30.     Additionally, there were several occasions where Key was openly hostile toward

   Plaintiff while she and Allen were together. Allen acknowledged that he noticed Key’s

   behavior.

       31.     In January 2019, Plaintiff exchanged messages with Allen asking why Key was

   treating Plaintiff so poorly.

       32.     On January 29, 2019, Plaintiff met with Allen to discuss her concerns about Key.

   This discussion was in advance of a meeting Plaintiff had with Key the next day to discuss
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 9 of 25 PageID #: 9




   course changes. Allen recommended that Plaintiff speak with Key after that meeting to

   discuss Key’s treatment of Plaintiff. Allen even offered Plaintiff advice on things to say

   during that meeting.

       33.      On January 30, 2019, Plaintiff met with Key to discuss course changes, as well as

   professional boundaries and Key’s treatment of Plaintiff. Key told Plaintiff that she made Key

   uncomfortable and that lack of boundaries were Plaintiff’s fault. Key refused to discuss any

   boundaries or resolutions for moving forward, despite Key remaining as Plaintiff’s supervisor.

   Plaintiff began regular therapy treatment after this meeting due to Key’s behavior.

       34.      On February 11, 2019, Key and Allen were walking together down a hallway.

   Plaintiff was walking in the opposite direction. Allen attempted to say hello to Plaintiff, but he

   was interrupted by Key laughing and attempting to show him something on her phone.

   Plaintiff messaged Allen shortly afterward to point out the behavior. Allen acknowledged that

   he witnessed Key’s hostile behavior toward Plaintiff and admitted that he attempted to

   facilitate an interaction between them. Plaintiff expressed concerns for job security, remaining

   at LSMSA, and that Key should not continue treating her in this way.

       35.      On March 14, 2019, Plaintiff met with Allen to discuss an upcoming trip to San

   Antonio. During that meeting, Plaintiff and Allen further discussed Key’s behavior toward

   Plaintiff.

       36.      On March 20, 2019, Plaintiff notified John Allen that she had been offered another

   teaching position in San Antonio. She stated that she didn’t want to leave LSMSA but felt like

   she needed to. Allen’s response was that if Plaintiff was at the point of resignation, then

   maybe a conversation with Key was in order before Plaintiff made her final decision.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 10 of 25 PageID #: 10




       37.     On March 21, 2019, at the suggestion of Allen, Plaintiff met with Key to discuss

    the possibility of Plaintiff’s resignation. At this meeting, Key admitted that she was never

    able, and probably would not be able to in the future, establish professional boundaries with

    Plaintiff. Later in the meeting, Key stated she was responsible for their relationship being

    “more than.”

       38.     On May 29, 2019, Plaintiff sent an email to Key asking for her input before

    making the final decision whether to accept a position in Durham, NC (Plaintiff ultimately

    turned down the position in San Antonio due to thinking Defendant LSMSA would help her

    professionally navigate the issues with Key). Attached to the email were Plaintiff’s previous

    concerns and a desire to move forward with a professional relationship only, not a personal

    one or friendship. Key responded by accusing Plaintiff of wanting personal attention and a

    personal relationship (even though Plaintiff’s initial email said the exact opposite).

       39.     On June 5, 2019, Plaintiff received an email from Sheila Kidd, the Human

    Resources Coordinator, requesting a meeting the following day with her and Key to “address

    some communications concerns that have arisen.”

       40.     On June 6, 2019, Kidd changed the meeting location twenty minutes prior to the

    meeting. Key never attended the meeting. For two hours, Kidd questioned Plaintiff about the

    email to Key on May 29, 2019, accused Plaintiff of exhibiting harassing behavior, and

    dismissed Plaintiff’s concerns about Key’s treatment of her.

       41.     Also, at this meeting, Plaintiff was presented with a document she was told

    contained “unofficial sanctions.” Kidd told Plaintiff that both she and Key would have to sign

    this document. When Plaintiff offered that she was concerned how this document would affect

    her job, Kidd stated the document was merely a guideline and that nothing was set in stone.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 11 of 25 PageID #: 11




        42.        Key did not sign this document. Plaintiff was unaware of this fact until December

    2019, a full six months later.

        43.        On August 26, 2019, Plaintiff scheduled a meeting with Kidd to discuss the Fall

    2019 semester and having Key as her supervisor again despite previous incidents.

        44.        Plaintiff again met with Kidd on October 21, 2019, to discuss Key’s behavior and

    how, despite Key still being Plaintiff’s supervisor, it had been four months since they had

    spoken. At this meeting, Kidd acknowledged the lack of communication, supervisory support,

    and professional growth. Further, Kidd stated that Key’s behavior stemmed from personal

    grievances, and she proposed no solutions to the issues other than for Plaintiff to give it time.

    During this meeting, Plaintiff requested a mediation, Kidd stated that mediation wasn’t

    possible since nothing negative had happened. Kidd provided an example of a negative

    interaction that included “if Key had ‘flipped off Plaintiff in a meeting’ as being a negative

    interaction.

        45.        Through all meetings between Allen and Plaintiff, Allen continued to tell Plaintiff

    that she needed to consider Key’s feelings and what she was going through. When Plaintiff

    would ask how to move forward professionally, Allen repeatedly stated that Plaintiff needed

    to be patient and “everyone works through their ‘feelings’ at their own pace.”

        46.        Allen and Plaintiff met on October 24, 2019, to discuss Plaintiff’s meeting with

    Kidd and Plaintiff’s concerns about her professional growth. Plaintiff asked Allen about a

    mediation and why Kidd would refuse. Allen stated he did not know why Kidd would refuse

    it, but that he would follow up directly with her.

        47.        Allen and Plaintiff met again on November 18, 2019, to discuss Key’s behavior at

    the conference in Seattle. Allen admitted that Key’s behavior made him uncomfortable. When
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 12 of 25 PageID #: 12




    Plaintiff again asked about a mediation, Allen asked if Plaintiff would be willing to sit down

    with him, Kidd, and Key. Plaintiff agreed, and Allen said he would determine if they were

    interested.

        48.       Plaintiff’s Department Chair, Dr. Jocelyn Donlon, inquired to the administration

    about a mediation for Plaintiff on November 20, 2019. Plaintiff’s situation was untenable.

    Donlon was told “the school’s position is that the agreement y’all signed needs to stand

    without further mediation or communication between you and [Key].” This is when Plaintiff

    learns that Key was explicitly told by Defendant not to have contact with Plaintiff. Plaintiff

    was unaware of this and had been given conflicting information by Kidd that everything was

    going to work out and even encouraged Plaintiff to be friendly with Key when seeing her in

    passing.

        49.       Donlon attempted to facilitate a meeting between Key and Plaintiff regarding a

    student plagiarism issue on November 21, 2019. This meeting was unsuccessful and lasted

    only approximately five minutes. Key would not look at Plaintiff or speak to her, despite

    needing to work together on a student issue.

        50.       Plaintiff had another meeting with Allen on December 4, 2019. At this meeting,

    Allen said Plaintiff needed to be patient and allow Key “time to process at her own pace.”

    Allen told Plaintiff that there was nothing that could be done to stop Key’s hostile behavior

    toward Plaintiff.

        51.       On February 6, 2020, another faculty member, Jenny Schmitt, met with Allen and

    Dr. Steve Horton, Executive Director, to express her concerns over how Plaintiff was being

    treated and how the workplace was so toxic that Plaintiff was anxious, afraid, and
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 13 of 25 PageID #: 13




    uncomfortable any time she was at work. Plaintiff was unaware of this meeting until after the

    fact.

        52.     The next day, on February 7, 2020, Plaintiff went to Horton to discuss the situation

    with Key. She brought Schmitt with her as a witness and as a support colleague. During this

    meeting, Horton stated he was not aware of the situation (despite meeting with Schmitt the

    day prior) but wanted to remedy it. Next, Horton asked if Plaintiff would be interested in a

    mediation with a qualified, outside mediator. Plaintiff responded affirmatively. Horton said

    he’d follow up with Kidd and Key.

        53.     In an email with Horton on February 14, 2020, Horton stated: “Justin: Dr. Key has

    no interest in any further mediation. She is satisfied with the agreement the two of you signed

    several months back. So a second mediation is out of the question. I'm going to visit with

    Sheila about this early next week." Plaintiff explained that there was never an initial

    mediation. Horton responded as follows: "For a mediation to happen, both parties have to

    agree to it initially. If one of the parties is not willing, that leaves the other party with the

    options of 1) doing nothing further or 2) filing a grievance using the school policy. Any

    employee who feels that feels harassed at any level has the right to file a grievance, which

    begins a formal process for resolution.”

        54.     Despite having no contact with Key for several months, Key ironically filed a

    grievance against Plaintiff just four days later, on February 18, 2020. This grievance alleges

    “workplace harassment and personal stalking,” as well as not upholding confidentiality.

    Further, Key requests that Plaintiff’s contract for the following school year not be reviewed

    and that Plaintiff should be terminated immediately if confidentiality is broken.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 14 of 25 PageID #: 14




       55.        The investigator for this grievance was Ruth Prudhomme. John Allen and Sheila

    Kidd recused themselves. This was Prudhomme’s first time investigating a grievance of this

    type.

       56.        As suggested by Horton, Plaintiff filed her grievance on February 20, 2020.

    Plaintiff’s grievance alleged harassment and hostile work environment. Plaintiff submitted a

    binder with nearly 500 pages of evidence to support her claim.

       57.        Prudhomme and Kidd discouraged Plaintiff from submitting a grievance.

       58.        Despite Plaintiff’s reports of harassment and Defendant’s knowledge of Key’s

    harassing and erratic behavior toward Plaintiff, Defendant did not remove Key as Plaintiff’s

    supervisor until February 2020. Further, Plaintiff was never notified that Key had been

    removed as her supervisor. Plaintiff only knew due to seeing the change while she was

    certifying her time.

       59.        After submitting her grievance, Plaintiff was told that her grievance could not be

    investigated until after the completion of Key’s investigation. Plaintiff was told she would be

    contacted later that week. In fact, she wasn’t contacted until a few weeks later.

       60.        Prudhomme contacts Plaintiff on March 2, 2020 to request a list of witnesses.

    When Plaintiff replied the next day, she asked Prudhomme if Key had been notified of the

    grievance. Plaintiff was fearful of running into Key at the school and told Prudhomme that she

    did not “feel comfortable going into the [high school building] and working in my office at

    this time.”

       61.        Later in the afternoon of March 3, 2020, Horton, clearly having heard from

    Prudhomme that Plaintiff was afraid to return to her office, emails Plaintiff and requires her to

    resume working in her office despite her fear. His email states, "Justin: Tomorrow, please plan
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 15 of 25 PageID #: 15




    to resume normal hours in your assigned office in HSB 1020. I do not want either grievance or

    their investigations to affect the normal day-to-day operations, or workspaces for that matter,

    for the students, faculty, or staff. Thanks, Steve."

        62.     Concurrently, that day, Schmitt is interviewed in relation to the grievances that

    were filed. Schmitt learns that the grievances were combined. Plaintiff has no knowledge of

    this, nor has she consented to it.

        63.     Prudhomme interviews Plaintiff on March 11, 2020. Kidd, who had previously

    recused herself, was present to take notes.

        64.     The next day, March 12, 2020, LSMSA announced they’d be dismissing students

    to return home due to COVID. Plaintiff emailed Prudhomme to ask if the investigation would

    continue or be placed on hold. Prudhomme stated the investigation would continue.

        65.     Eleven days afterward, on March 23, 2020, Horton emails Plaintiff and states that

    Plaintiff would not receive a letter of intent (teaching contract extension) until he had the

    grievance report findings.

        66.     Plaintiff replies to Horton’s email on March 25, 2020, and points at that it had been

    six weeks since the grievances were filed, which was well beyond the seven-day timeline

    outlined in their Grievance Policy and Procedure Document. Horton replies two days later that

    a response will be provided no later than March 30, 2020.

        67.     On March 29, 2020, Horton schedules an morning meeting with Plaintiff via Zoom

    for the next business day. At this meeting on March 30, 2020, Horton notified Plaintiff that

    Defendant dismissed Plaintiff’s grievance due to lack of evidence, despite Plaintiff submitting

    nearly 500 pages of documentation.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 16 of 25 PageID #: 16




        68.    Horton further informs Plaintiff that the grievance that Defendant found in favor of

    the grievance Key filed against Plaintiff. Plaintiff was told she could choose her own

    separation date up until August 1, 2020. Her contract was set to expire May 31, 2020, but

    Defendant gave her the option of selecting a later date. Plaintiff was further told she would

    receive an excellent recommendation from the school whenever it’s needed.

        69.    On April 25, 2020, Horton notifies the school listserv that Plaintiff will not be

    returning. Horton also sent an email to students encouraging them to wish Plaintiff well in her

    new endeavors. Defendant had never sent a similar email for any other faculty or staff

    departure. Plaintiff did not consent to this, was not notified of this email (she learned from

    students), and was not emotionally prepared to answer questions from colleagues and students

    as to why she was leaving.

        70.    In May 2020, Plaintiff notices that Key is still viewing Plaintiff’s social media

    postings and watching her online behavior.

                                          CAUSES OF ACTION

 COUNT I: Lack of Policies and Procedures for Sexual Harassment, Discrimination, or

 Retaliation

        1.     Plaintiff re-allege and incorporate the allegations contained in all prior paragraphs

    of this Complaint as if fully alleged herein.

        2.     As a recipient of federal financial funding, LSMSA is required to draft policies and

    procedures for sexual harassment and discrimination.

        3.     The Title IX Coordinator is required to have knowledge of said policies and

    procedures and to ensure that LSMSA was in compliance with them at all times.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 17 of 25 PageID #: 17




       4.       Upon information and belief, at all times relevant hereto, Defendant LSMSA did

    not have any policies or procedures in place for sexual discrimination or did not follow the

    ones that were in place, such as:

       5.       Plaintiff was not provided an Employee Advisor as outlined in Part V of

    Defendant’s Grievance Policy and Procedure Document.

       6.       Plaintiff was not allowed to address or rebut any of Key’s allegations against her,

    as outlined in Part VIII, Provision I of the Defendant’s Grievance Policy and Procedure

    Document.

       7.       Plaintiff was not allowed to appeal the findings of the grievances, neither before

    nor after being informed of the school’s decision to terminate her.

       8.       Defendant failed to follow proper recusal procedure when they allowed Kidd to

    take notes on the grievance investigation after she recused herself.

       9.       Defendant’s Grievance Policy and Procedure document does not provide any

    policy, procedure, or guidance for employees who seek redress for harassment from their

    supervisors.

       10.      Defendant failed to follow its outlined timelines or conduct investigations in a

    timely manner when investigating the sexual harassment claims.

       11.      Defendant does not have adequate sexual harassment policies or training for

    faculty and staff. Instead, documents received by employees state “see student handbook” for

    the sexual harassment policies.

       12.      Defendant’s failure to establish policies and procedures for sexual harassment and

    discrimination effectively denied Justin Barker's clearly established federal rights and

    Constitutional rights.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 18 of 25 PageID #: 18




       13.       As a direct and proximate result of Defendant’s actions, and inactions, Justin

    Barker suffered, and continues to suffer, injuries including, but not limited to emotional

    distress, psychological trauma, and mortification.

 COUNT II: Failure to Implement and Administer a Grievance Policy

       1.        Plaintiff re-allege and incorporate the allegations contained in all prior paragraphs

    of this Complaint as if fully alleged herein.

       2.        As a recipient of federal financial funding, LSMSA is required to implement and

    administer a Grievance Policy to receive, investigate, and respond to reports of sexual

    harassment and discrimination against students.

       3.        The Grievance Policy must be written in a language appropriate for the audience.

       4.        The Title IX Coordinator must review the policy for compliance under Title IX.

       5.        The Title IX Coordinator is responsible for coordinating the Grievance Policy and

    ensuring individual complaints are handled properly including informing all parties of the

    process and notifying all parties of the decision and the right to and procedure to appeal.

       6.        Upon information and belief, at all times relevant hereto, Defendant LSMSA did

    not ensure that complaints were handled properly, including informing all parties of the

    process, notifying parties of decisions, or providing information on appeals or the appeals

    procedure.

       7.        Defendant’s failure to implement and administer a Grievance Policy effectively

    denied Justin Barker's clearly established federal rights and Constitutional rights.

       8.        As a direct and proximate result of Defendant’s actions, and inactions, Justin

    Barker suffered, and continues to suffer, injuries including, but not limited to emotional

    distress, psychological trauma, and mortification.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 19 of 25 PageID #: 19




 COUNT III: Failure to Train Administrators, Faculty, and Staff on the Grievance Policy

        1.      The Title IX Coordinator should provide training to administrators, faculty, and

    staff on how Title IX protects against sexual harassment and discrimination, their rights and

    obligations under Title IX, and how to file a grievance.

        2.      The Title IX Coordinator should provide consultation services regarding Title IX

    requirements to potential complainants.

        3.      Upon information and belief, at all times relevant hereto, Defendant LSMSA did

    not train administrators and employees on the Grievance Policy or Title IX rights and

    obligations.

        4.      Upon information and belief, at all times relevant hereto, Defendant LSMSA did

    not provide consultation services to potential complainants regarding Title IX requirements.

        5.      Defendant’s failure to train its administrators, faculty, and staff effectively denied

    Justin Barker's clearly established federal rights and Constitutional rights.

        6.      As a direct and proximate result of Defendant’s actions, and inactions, Justin

    Barker suffered, and continues to suffer, injuries including, but not limited to emotional

    distress, psychological trauma, and mortification.

 COUNT IV: Failure to Publish Notice of Nondiscrimination

        1.      Plaintiff re-allege and incorporate the allegations contained in all prior paragraphs

    of this Complaint as if fully alleged herein.

        2.      As a recipient of federal financial funding, LSMSA is required to publish a notice

    that it does not discriminate on the basis of sex and that it is required by Title IX not to

    discriminate in such a matter.

        3.      The notice must be widely distributed.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 20 of 25 PageID #: 20




       4.      The notice should be prominently posted on LSMSA’s website, at various sites

    around the campus, and it should be in electronic and printed form for general distribution.

       5.      Upon information and belief, at all times relevant hereto, Defendant LSMSA did

    not publish a Notice of Nondiscrimination.

       6.      Upon information and belief, at all times relevant hereto, Defendant LSMSA did

    not distribute a Notice of Nondiscrimination.

       7.      Upon information and belief, at all times relevant hereto, Defendant LSMSA did

    not post a Notice of Nondiscrimination on the website for LSMSA nor did they make

    electronic or printed copies available at the LSMSA office or campus.

       8.      Defendant’s failure to publish and distribute a Notice of Nondiscrimination

    effectively denied Justin Barker's clearly established federal rights and Constitutional rights.

       9.      As a direct and proximate result of Defendant’s actions, and inactions, Justin

    Barker suffered, and continues to suffer, injuries including, but not limited to emotional

    distress, psychological trauma, and mortification.

 COUNT V: Defendant Willfully, Wantonly, and Consciously Disregarded Plaintiff Reports

       1.      Plaintiff re-allege and incorporate the allegations contained in all prior paragraphs

    of this Complaint as if fully alleged herein.

       2.      Justin Barker suffered employee-against-employee sexual harassment, which is

    considered sex discrimination prohibited by Title IX.

       3.      Defendant had actual knowledge of the Plaintiff’s sexual harassment and

    discrimination claims.

       4.      Defendant had actual knowledge of the hostile environment Justin Barker

    continued to suffer in after reporting sexual harassment and discrimination.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 21 of 25 PageID #: 21




       5.      Defendant’s administrators, employees, and agents with actual knowledge of

    Justin Barker's many reports had the authority and ability to investigate and take meaningful

    corrective action to remediate sexual harassment and the hostile educational environment

    Justin Barker suffered, but failed to do so.

       6.      Defendant’s actions, or inactions, created a climate in which sexual harassment,

    torment, and bullying against Justin Barker were tolerated.

       7.      Defendant’s failure to take meaningful disciplinary action, and Defendant’s

    multiple failures to take any meaningful corrective action to remediate the sexual harassment

    and hostile environment that Plaintiff experienced after, and because of, reporting sexual

    harassment, denied Justin Barker's clearly established federal rights and Constitutional rights.

 COUNT VI — Negligence of Defendant LSMSA

       1.      Defendant LSMSA owed Plaintiff a duty to comply with the statutory regulations

    of the Title VII and Title IX.

       2.      Defendant LSMSA owed a duty to Plaintiff to exercise a reasonable degree of care

    to maintain a safe working environment for its employees.

       3.      Defendant LSMSA had superior knowledge beginning in Spring 2018 of Key’s

    inappropriate behaviors toward Plaintiff, yet they failed to take any actions to protect Plaintiff.

       4.      Defendant LSMSA willfully and intentionally violated that duty when they failed

    to provide a safe working environment.

       5.      Plaintiff was harmed by Defendant’s actions and inactions.

       6.      Plaintiff was in no way responsible for the unauthorized actions of Defendant

    LSMSA or its employees.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 22 of 25 PageID #: 22




        7.      Defendant LSMSA’s misconduct was willful, wanton, and in conscious disregard

    of consequences such that the jury should award punitive damages.

        8.      At all times described in this Complaint, Plaintiff was subjected to unwelcomed

    harassment from Key.

        9.      At all times described in this Complaint, Defendant knew or should have known

    that said harassment was based on Plaintiff’s gender or sexual orientation.

        10.     At all times described in this Complaint, Defendant knew or should have known

    that said harassment was so pervasive as to create an abusive and unsafe working

    environment, both by an objective and subjective standard.

 COUNT VII — Defendant’s Intentional Infliction of Mental and Emotional Distress

        1.      Plaintiff re-alleges and incorporate the allegations contained in all prior paragraphs

    of this Complaint as if fully alleged herein

        2.      The conduct of the Defendants is outrageous in that it exceeded all bounds of

    decency which a reasonable person would deem intolerable in today's community standards.

        3.      The conduct of the Defendants gave them the real or apparent power to affect

    Plaintiff’s interests.

        4.      Defendant knew or should have known that their conduct would likely result in

    harm to Plaintiff due to mental and emotional distress.

        5.      Defendants acted with intentional and reckless disregard of the probability that

    Plaintiff would suffer from mental and emotion distress after being subjected to their conduct

    as described in this Complaint.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 23 of 25 PageID #: 23




       6.      Further, Defendant forced confidentiality on Plaintiff and retaliated against her

    when she sought emotional and professional support from close colleagues due to the ongoing

    harassment.

       7.      Plaintiff suffered from substantial mental and emotional distress, including, but not

    limited to suffering, anguish, fright, nervousness, grief, anxiety, shock, humiliation, and

    shame.

 COUNT VIII: Defendant’s Retaliation Against Plaintiff

       1.      Plaintiff re-alleges and incorporate the allegations contained in all prior paragraphs

    of this Complaint as if fully alleged herein.

       2.      Defendant retaliated against Plaintiff after she filed her grievance and chose not to

    renew Plaintiff’s teaching contract.

       3.      Key’s grievance against Plaintiff recommended that Plaintiff’s contract not be

    renewed.

       4.      Key was Plaintiff’s immediate supervisor throughout the years of harassment she

    forced upon Plaintiff.

       5.      Horton refused to issue a letter of intent to renew Plaintiff’s teaching contract until

    the grievance investigations were complete.

       6.      Plaintiff had a stellar employment record, respect of her colleagues and students,

    founded and ran a writing center for student, and volunteered at nearly all student or student

    life events. Failure to renew Plaintiff’s teaching contract was retaliatory.

       7.      As a direct and proximate result of Defendant’s retaliation, Plaintiff suffered, and

    continues to suffer, injuries including, but not limited to emotional distress, psychological

    trauma, mortification, and lost wages.
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 24 of 25 PageID #: 24




                                                 DAMAGES

        As a direct and proximate result of Defendant's actions and inactions, Justin Barker

 suffered, and continues to suffer, injuries including, but not limited to emotional distress,

 psychological trauma, humiliation, mortification, lost wages, and benefits. Plaintiff has sustained

 actual and compensatory damages, and is entitled to recover costs, pre- and post-judgment

 interest, and attorneys' fees. Barker is also entitled to punitive damages under Title VII of the

 Civil Rights Act of 1964 based on Defendant’s misconduct being willful, wanton, and in

 conscious disregard of consequences.

        WHEREFORE, Plaintiff respectfully prays that Defendant be served with process and be

 required to answer this lawsuit, and that, after due proceedings:

    1. There be judgment in favor of Plaintiff for her actual, punitive, liquidated and

        compensatory damages, attorneys' fees, pre- and post-judgment interest and costs; and

    2. For special and general damages from the Defendant, for the personal injuries which

        Justin Barker has suffered in an amount to be determined according to the enlightened

        conscience of an impartial jury, including:

            a. All past, present, and future physical and psychological pain, suffering and

                impairment; and

            b. All medical bills, counseling, and other costs and expenses for past, present, and

                future medical and psychological care; and

            c. Attorneys’ fees and all costs of litigation; and

            d. Interest at the legal rate on any judgment ultimately rendered;

    3. Plaintiff be awarded any such other and further relief as this Honorable Court may deem

        just and appropriate; and
Case 1:21-cv-04419-DDD-JPM Document 1 Filed 12/26/21 Page 25 of 25 PageID #: 25




    4. Plaintiff be granted a trial by jury as to all claims herein.




                Respectfully submitted, this 26th day of December, 2021.



                                                        /s/ Donald C. Hodge, Jr
                                                        LSB# 29251
                                                        4148 Palm Street
                                                        Baton Rouge, Louisiana 70808
                                                        (337) 794-8873 (v)
                                                        (888) 297-2959 (f)
                                                        attorneydonaldhodge@gmail.com

                                                        /s/ Joseph J. Steffen, Jr.
                                                        Joseph J. Steffen, Jr.
                                                        Georgia Bar No. 677766
                                                        Attorney for Plaintiff
                                                        317 Tattnall Street
                                                        Savannah, Georgia 31401
                                                        (912) 604-4147
                                                        steffjj@aol.com
